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    June 30, 2022


    Via ECF

    Honorable David S. Jones
    United States Bankruptcy Court
    Southern District of New York
    One Bowling Green, Courtroom 501
    New York, NY 1004-1408


             Re:      In re Ascentra Holdings, Inc. (In Official Liquidation), Case No. 21-
                      11854 Letter to Court Re Status Report

    To the Honorable David S. Jones:

             We write on behalf of Graham Robinson and Ivy Chua, the duly appointed joint
    official liquidators and foreign representatives of Ascentra Holdings, Inc. (in Official
    Liquidation) (the “Liquidators” or “Foreign Representatives”) in the above-
    referenced case and submit this letter pursuant to the Court’s Scheduling Order [ECF
    No. 23], directing the Foreign Representatives to file a status report in the form of a
    letter to the Court stating: (a) the procedural status of the instant case and the Cayman
    Proceeding (defined below); (b) the nature of the activities in the instant case and the
    Cayman Proceeding; and (c) what is anticipated in the ensuing six months.

                                           Overview of Ascentra

           Ascentra Holdings, Inc. (“Ascentra”) operated as an e-commerce company and
    sold health and beauty products in Hong Kong and the People’s Republic of China (the
    “PRC”). Ascentra was beneficially owned by Martin Matthews, Mari Matthews,
    Yoshio Matsuura (“Matsuura”), Ryunosuke Yoshida (“Yoshida”) and three former
    members of Ascentra’s senior management. Matsuura and Yoshida served as directors
    of Ascentra until they were displaced by the Liquidators.




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           In November 2016, Ascentra entered into a memorandum of understanding
    (“MOU”) with an affiliate Shang Peng Gao Ke Inc. SEZC (“SPGK”), which at the
    time was controlled by Yoshida’s predecessor-in-interest, Motohiko Homma.

            Under the MOU, Ascentra granted SPGK the exclusive rights to use Ascentra’s
    customer and product lists under SPGK’s brand names, and the exclusive license to sell
    Ascentra software in the PRC in exchange for royalty payments of approximately 77%
    of the net revenues generated from such sales. The terms of the MOU were never fully
    implemented and Ascentra and SPGK agreed to cancel the MOU (the “Cancellation
    Agreement”) on or around April 3, 2018. Under the Cancellation Agreement, the
    parties agreed, inter alia, to take any and all actions to remit and return to Ascentra (x)
    all assets and monies of SPGK and (y) SPGK’s brand names.

            On or around April 4, 2018, Ascentra entered into an exclusive international
    distribution agreement with Asian Offshore Services (“AOS”). The agreement granted
    AOS exclusive rights to distribute certain of Ascentra’s products in the PRC under
    AOS’s proprietary brand names. AOS discontinued providing services to Ascentra in
    early 2021. During the period in which AOS provided services, it utilized certain of the
    back-office systems, bank accounts, service providers and other infrastructure that
    Ascentra built and initially transferred to SPGK to support Ascentra’s sales.

        A. Chapter 15 Proceedings and Cayman Proceeding

                 1. Cayman Proceeding

            On June 1, 2021, Ascentra’s shareholders unanimously approved resolutions to
    place the company into voluntary liquidation under section 124 of the Companies Act
    of the Cayman Islands (2021 Revision). On September 17, 2021, the company was
    placed into official liquidation pursuant to a Supervision Order issued by the Grand
    Court of the Cayman Islands (the “Cayman Proceeding”). The Liquidators were duly
    appointed joint official liquidators of Ascentra in the Cayman Proceeding, which
    remains pending in the Grand Court.

                 2. Chapter 15 Proceedings

            On October 27, 2021, the Liquidators filed a petition for recognition under
    Chapter 15 of the Bankruptcy Code, and sought an Emergency Request for Provisional
    Relief Pursuant to Sections 1519 and 105(a) of the Bankruptcy Code (the
    “Application”) [ECF No. 9] to extend the automatic stay to funds held in a payment
    processing account maintained by Planet Payment Solutions LLC (“Planet Payment”)
    in the name of SPGK. According to the Liquidators, Ascentra had a contractual and


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    equitable interest in the funds and thus a stay was necessary to avoid transfer of such
    funds and irreparable harm to Ascentra and its stakeholders.

           SPGK filed a limited objection to the Application. See ECF No. 15. The parties
    resolved the limited objection, and on November 2, 2021, the Court granted the
    Application [ECF No. 17].

            On December 3, 2021, the Court held a hearing on the Liquidators’ Verified
    Petition for Recognition of Foreign Insolvency Proceeding and Application for
    Additional Relief Under Chapter 15 of the Bankruptcy Code, and Memorandum of Law
    In Support Thereof [ECF No. 3]. On December 6, 2021, the Court entered the Order
    Granting Recognition and Relief in Aid of a Foreign Main Proceeding [ECF No. 22]
    (the “Recognition Order”).

        B. Activities in Chapter 15 Proceedings and Cayman Proceeding

           Following entry of the Recognition Order, Graham Robinson and Ivy Chua as
    the duly appointed Foreign Representatives of Ascentra commenced discovery to
    obtain documents and information from, among others, Planet Payment and Ever
    Innovation Inc.

                 1. Planet Payment

            On November 16, 2021, the Foreign Representatives served a subpoena request
    on Planet Payment. On December 6, 2021, Planet Payment responded to the subpoena
    request, objecting to the scope of and various requests set forth in the subpoena. The
    parties ultimately resolved their issues and negotiated a Stipulated Confidentiality
    Agreement and Protective Order, which the Court approved on February 2, 2022 [ECF
    No. 25].

           On February 9, 2022, Planet Payment produced the first set of documents,
    which did not meet the scope of the Foreign Representatives’ initial request. On March
    8, 2022, the Foreign Representatives sent a second request for additional documents.

           Although the new set of documents Planet Payment produced met the scope of
    the Foreign Representatives’ second requests, the Foreign Representatives believe that
    additional communications and information is needed to properly assess transfers made
    and trace funds that belong to Ascentra. Since then, counsel have conferred regarding
    the production of additional communications and documents. Discussions and
    negotiations are ongoing.



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                 2. Ever Innovation Inc.

           On April 21 and 26, 2022, the Foreign Representatives served subpoena
    requests on Ever Innovation, Inc. (“EII”), Masami Nakano (“Nakano”), and James
    Koshimoto (“Koshimoto”).

           Upon information and belief, Nakano served as CEO of EII and Koshimoto
    served as Chief Technology Officer at EII. On February 1, 2017, Ascentra and EII
    entered into a services agreement, in which EII agreed to provide website development
    and consulting services to Ascentra. The services agreement was terminated on August
    31, 2021. Based on investigation, Matsuura took the technology and agent, customer
    and product lists that Ascentra licensed to EII to use and run the back office and set up
    a new entity known as FJH International, Inc.

            On May 4, 2022, EII responded to the subpoena requests, arguing, among other
    things, that the requests concerned trade secret issues, sought privileged information,
    and exceeded the scope of discovery permitted under the Recognition Order. The
    parties conferred regarding the scope of the subpoena requests, and counsel agreed to
    provide search terms to assist with document production. The Foreign Representatives
    have not yet received any documents. Recently, counsel was informed that EII has
    retained another law firm to respond to the subpoenas.

                           Expectations Over the Next Six Months

           At this time, the Foreign Representatives expect the discovery process to
    continue for the next few months, as the parties meet and confer to address objections
    and the scope of requests. Depending on what discovery reveals, the Foreign
    Representatives may seek additional relief from the Court because there is a serious
    concern that the funds might disappear and thus amplify efforts by the Foreign
    Representatives to trace those funds.

            As discussed in multiple filings made in this Court, the current dispute amongst
    Ascentra’s beneficial owners stems from SPGK’s failure to transfer any proceeds from
    the sale of Ascentra products (either on a gross revenue or net income basis) to Ascentra
    for further distribution to its shareholders. SPGK took Ascentra’s agent, customer and
    product lists without remitting Ascentra’s share of the sale proceeds as required under
    the Cancellation Agreement between the parties.

            As of the filing date of this status report, SPGK continues to use and profit from
    Ascentra’s products under FJH International and has rebranded them under different
    colors. Based on preliminary investigation, SPGK holds more than $200 million that


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    should have been distributed to Ascentra’s shareholders, approximately $67 million of
    which constitute funds held in Planet Payment accounts. The Foreign Representatives
    have already obtained a stay against those accounts. See ECF No. 17.

            The Foreign Representatives are also working to obtain recognition of the
    Cayman Proceeding in Singapore. Recently, the High Court in Singapore denied the
    Foreign Representatives application for recognition based on a finding that Ascentra’s
    liquidation proceeding does not have its basis in a law relating to insolvency. The
    decision has been appealed. If the appeal is successful, the Foreign Representatives
    would be able to utilize various restructuring tools under Singapore law (such as the
    automatic stay) to piece together their investigations and claims against SPGK, its
    shareholders and other parties.


                                                Respectfully submitted,

                                                /s/ John A. Pintarelli

                                                John A. Pintarelli
                                                Partner




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